
*166OPINION.
Lansdon:
We are of the opinion that the claim on account of reserve for unreturned bottles is covered by the Board’s decision in the Appeal of LaSalle Portland Cement Co., 4 B. T. A. 438. In so far as can be ascertained from the evidence before us, a price for the bottles sufficient to cover the cost to the taxpayer was charged to and paid by the vendee. The taxpayer was to pay the vendee the *167same price on the return of the bottles. If so, the taxpayer neither lost nor gained by the bottle transaction. They were neither more nor less than a commodity purchased and sold at cost or near cost, in order to effect the sale of the beer. On their purchase they came into taxpayer’s inventory. On their sale they passed out of the inventory. If the vendee returned them in good condition, taxpayer would pay for them and they would again come into the inventory. Neither the amount of taxpayer’s income nor its capital is affected by any of these transactions or by the failure to complete one or more of them. The decision of the Commissioner as to this claim is affirmed.
The petitioner asks for a substantial deduction from its gross income for the taxable year on account of the obsoleteness of a building and equipment used for the storage and fermentation of beer. This deduction seems to be claimed on the theory that the building was abandoned and became a total loss in 1919, at which date it is alleged the petitioner ceased the manufacture of beer. There is .no competent evidence in support of this claim. We do not know when the building was constructed or at what cost. The only evidence of value at March 1, 1913, offered by the taxpayer was an appraisal made on what is known as the depreciated reproductive cost basis. The Commissioner objected to the receipt of this appraisal as evidence. As the man who made such appraisal was not present at the hearing, we must sustain this objection. Lacking evidence of the cost of the building and equipment, of the value of such assets at March 1,1913, and in the taxable year, we approve the determination of the Commissioner on this point.
Judgment will be entered on 10 days' notice, under Bule BO.
